     Case 8-20-08140-reg     Doc 16-4     Filed 06/28/22     Entered 06/28/22 17:39:47




                         Exhibit D to Joint Pretrial Memorandum
                             (The Defendant’s Exhibit List)

  Def’s No.            Document Description                        Plaintiff’s Objections

DEF’S 1       February 22, 2029 Reclamation Demand         Best Evidence Rule.
              Letter with Exhibits                         Hearsay.
                                                           Foundation, including lack of personal
                                                           knowledge.

DEF’S 2       Invoice/Bill of Lading Detail Printed        Best Evidence Rule.
              February 10, 2021
                                                           Hearsay.
                                                           Foundation, including lack of personal
                                                           knowledge.
                                                           Relevance.
                                                           Authentication.

DEF’S 3       Balance of Yellow, Purple, Green and         Best Evidence Rule.
              Orange Bills of Lading                       Hearsay.
                                                           Foundation, including lack of personal
                                                           knowledge.
                                                           Relevance.
                                                           Authentication.

DEF’S 4       Blue Bills of Lading                         Best Evidence Rule.
                                                           Hearsay.
                                                           Foundation, including lack of personal
                                                           knowledge.
                                                           Relevance.
                                                           Authentication.

DEF’S 5       POD Packet A-Green                           Best Evidence Rule.
                                                           Hearsay.
                                                           Foundation, including lack of personal
                                                           knowledge.
                                                           Relevance.
                                                           Authentication.
     Case 8-20-08140-reg   Doc 16-4   Filed 06/28/22     Entered 06/28/22 17:39:47




  Def’s No.          Document Description                      Plaintiff’s Objections

DEF’S 6       POD Packet B-Green                       Best Evidence Rule.
                                                       Hearsay.
                                                       Foundation, including lack of personal
                                                       knowledge.
                                                       Relevance.
                                                       Authentication.

DEF’S 7       POD Packet C-Green                       Best Evidence Rule.
                                                       Hearsay.
                                                       Foundation, including lack of personal
                                                       knowledge.
                                                       Relevance.
                                                       Authentication.

DEF’S 8       POD Packet D-Green                       Best Evidence Rule.
                                                       Hearsay.
                                                       Foundation, including lack of personal
                                                       knowledge.
                                                       Relevance.
                                                       Authentication.

DEF’S 9       POD Packet E-Green                       Best Evidence Rule.
                                                       Hearsay.
                                                       Foundation, including lack of personal
                                                       knowledge.
                                                       Relevance.
                                                       Authentication.

DEF’S 10      POD Packet F-Green                       Best Evidence Rule.
                                                       Hearsay.
                                                       Foundation, including lack of personal
                                                       knowledge.
                                                       Relevance.
                                                       Authentication.




                                         2
     Case 8-20-08140-reg     Doc 16-4    Filed 06/28/22     Entered 06/28/22 17:39:47




  Def’s No.           Document Description                        Plaintiff’s Objections

DEF’S 11      POD Packet G-Green                          Best Evidence Rule.
                                                          Hearsay.
                                                          Foundation, including lack of personal
                                                          knowledge.
                                                          Relevance.
                                                          Authentication.

DEF’S 12      POD Packet H-Green                          Best Evidence Rule.
                                                          Hearsay.
                                                          Foundation, including lack of personal
                                                          knowledge.
                                                          Relevance.
                                                          Authentication.

DEF’S 13      POD Packet I-Green                          Best Evidence Rule.
                                                          Hearsay.
                                                          Foundation, including lack of personal
                                                          knowledge.
                                                          Relevance.
                                                          Authentication.

DEF’S 14      List of 90 Day Payments Part 1              Best Evidence Rule.
                                                          Hearsay.
                                                          Foundation, including lack of personal
                                                          knowledge.
                                                          Relevance.
                                                          Authentication.

DEF’S 15      List of 90 Day Payments Part 2              Best Evidence Rule.
                                                          Hearsay.
                                                          Foundation, including lack of personal
                                                          knowledge.
                                                          Relevance.
                                                          Authentication.




                                               3
      Case 8-20-08140-reg     Doc 16-4       Filed 06/28/22     Entered 06/28/22 17:39:47




  Def’s No.            Document Description                           Plaintiff’s Objections

DEF’S 16      Invoices 2-12-2019 to 5-11-2019 1               Best Evidence Rule.
                                                              Hearsay.
                                                              Foundation, including lack of personal
                                                              knowledge.
                                                              Relevance.
                                                              Authentication.

DEF’S 17      Invoices 2-12-2019 to 5-11-2019 2               Best Evidence Rule.
                                                              Hearsay.
                                                              Foundation, including lack of personal
                                                              knowledge.
                                                              Relevance.
                                                              Authentication.

DEF’S 18      Postpetition Activity Part 1                    Best Evidence Rule.
                                                              Hearsay.
                                                              Foundation, including lack of personal
                                                              knowledge.
                                                              Relevance.
                                                              Authentication.

DEF’S 19      Invoices listing attached to 4/26/21 email      Best Evidence Rule.
                                                              Hearsay.
                                                              Foundation, including lack of personal
                                                              knowledge.
                                                              Relevance.
                                                              Authentication.

DEF’S 20      Postpetition Activity Part 2                    Best Evidence Rule.
                                                              Hearsay.
                                                              Foundation, including lack of personal
                                                              knowledge.
                                                              Relevance.
                                                              Authentication.

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                                                4
